                  Case 12-62216-abf7                             Doc 1         Filed 12/11/12 Entered 12/11/12 14:27:24                                                    Desc Main
                                                                               Document     Page 1 of 51
B1 (Official Form 1)(12/11)
                                                  United States Bankruptcy Court
                                                          Western District of Missouri                                                                             Voluntary Petition
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 Name of Debtor (if individual, enter Last, First, Middle):                                                 Name of Joint Debtor (Spouse) (Last, First, Middle):
  Yates, Joshua Ronald


All Other Names used by the Debtor in the last 8 years                                                      All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                                 (include married, maiden, and trade names):




Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN                           Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
(if more than one, state all)                                                                               (if more than one, state all)
  xxx-xx-5676
Street Address of Debtor (No. and Street, City, and State):                                                 Street Address of Joint Debtor (No. and Street, City, and State):
  1501 W. Frosty, No. 2
  Ozark, MO
                                                                                           ZIP Code                                                                                        ZIP Code
                                                                                         65721
County of Residence or of the Principal Place of Business:                                                  County of Residence or of the Principal Place of Business:
  Christian
Mailing Address of Debtor (if different from street address):                                               Mailing Address of Joint Debtor (if different from street address):


                                                                                           ZIP Code                                                                                        ZIP Code

Location of Principal Assets of Business Debtor
(if different from street address above):


                       Type of Debtor                                       Nature of Business                                              Chapter of Bankruptcy Code Under Which
          (Form of Organization) (Check one box)                               (Check one box)                                                 the Petition is Filed (Check one box)
     Individual (includes Joint Debtors)                            Health Care Business                                    Chapter 7
     See Exhibit D on page 2 of this form.                          Single Asset Real Estate as defined                                                     Chapter 15 Petition for Recognition
                                                                                                                            Chapter 9
     Corporation (includes LLC and LLP)                             in 11 U.S.C. § 101 (51B)                                                                of a Foreign Main Proceeding
                                                                                                                            Chapter 11
     Partnership                                                    Railroad
                                                                                                                            Chapter 12                      Chapter 15 Petition for Recognition
     Other (If debtor is not one of the above entities,             Stockbroker
                                                                                                                            Chapter 13                      of a Foreign Nonmain Proceeding
     check this box and state type of entity below.)                Commodity Broker
                                                                    Clearing Bank
                                                                    Other                                                                               Nature of Debts
                   Chapter 15 Debtors
                                                                           Tax-Exempt Entity                                                             (Check one box)
 Country of debtor's center of main interests:
                                                                          (Check box, if applicable)                       Debts are primarily consumer debts,                 Debts are primarily
                                                                    Debtor is a tax-exempt organization                    defined in 11 U.S.C. § 101(8) as                    business debts.
 Each country in which a foreign proceeding
 by, regarding, or against debtor is pending:                       under Title 26 of the United States                    "incurred by an individual primarily for
                                                                    Code (the Internal Revenue Code).                      a personal, family, or household purpose."

                                Filing Fee (Check one box)                                    Check one box:                          Chapter 11 Debtors
     Full Filing Fee attached                                                                      Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                   Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
     Filing Fee to be paid in installments (applicable to individuals only). Must             Check if:
     attach signed application for the court's consideration certifying that the
                                                                                                   Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
     debtor is unable to pay fee except in installments. Rule 1006(b). See Official
                                                                                                   are less than $2,343,300 (amount subject to adjustment on 4/01/13 and every three years thereafter).
     Form 3A.
                                                                                              Check all applicable boxes:
     Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                  A plan is being filed with this petition.
     attach signed application for the court's consideration. See Official Form 3B.
                                                                                                   Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                                                                   in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information                                                                                                                    THIS SPACE IS FOR COURT USE ONLY
   Debtor estimates that funds will be available for distribution to unsecured creditors.
   Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
   there will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors

     1-              50-            100-           200-       1,000-        5,001-        10,001-       25,001-       50,001-          OVER
     49              99             199            999        5,000        10,000         25,000        50,000        100,000         100,000
Estimated Assets

     $0 to           $50,001 to     $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million    million      million        million       million
Estimated Liabilities

     $0 to           $50,001 to     $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million    million      million        million       million
              Case 12-62216-abf7                    Doc 1       Filed 12/11/12 Entered 12/11/12 14:27:24                                           Desc Main
                                                                Document     Page 2 of 51
B1 (Official Form 1)(12/11)                                                                                                                                                 Page 2
                                                                                      Name of Debtor(s):
Voluntary Petition                                                                      Yates, Joshua Ronald
(This page must be completed and filed in every case)
                                 All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
Location                                                                      Case Number:                         Date Filed:
Where Filed: - None -
Location                                                                              Case Number:                                   Date Filed:
Where Filed:
          Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                     Case Number:                          Date Filed:
 - None -
District:                                                                             Relationship:                                  Judge:

                                       Exhibit A                                                                                Exhibit B
                                                                                         (To be completed if debtor is an individual whose debts are primarily consumer debts.)
  (To be completed if debtor is required to file periodic reports (e.g.,                I, the attorney for the petitioner named in the foregoing petition, declare that I
  forms 10K and 10Q) with the Securities and Exchange Commission                        have informed the petitioner that [he or she] may proceed under chapter 7, 11,
  pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934                12, or 13 of title 11, United States Code, and have explained the relief available
  and is requesting relief under chapter 11.)                                           under each such chapter. I further certify that I delivered to the debtor the notice
                                                                                        required by 11 U.S.C. §342(b).

        Exhibit A is attached and made a part of this petition.                         X     /s/ Donald M. Brown                                 December 5, 2012
                                                                                            Signature of Attorney for Debtor(s)                     (Date)
                                                                                              Donald M. Brown

                                                                                Exhibit C
  Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
       Yes, and Exhibit C is attached and made a part of this petition.
       No.

                                                                           Exhibit D
  (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
        Exhibit D completed and signed by the debtor is attached and made a part of this petition.
  If this is a joint petition:
        Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                      Information Regarding the Debtor - Venue
                                                                (Check any applicable box)
                    Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                    days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.
                    There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                    Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                    this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                    proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                    sought in this District.
                                         Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                 (Check all applicable boxes)
                    Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                       (Name of landlord that obtained judgment)




                                       (Address of landlord)

                    Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                    the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                    Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period
                    after the filing of the petition.
                    Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
             Case 12-62216-abf7                       Doc 1        Filed 12/11/12 Entered 12/11/12 14:27:24                                       Desc Main
                                                                   Document     Page 3 of 51
B1 (Official Form 1)(12/11)                                                                                                                                             Page 3
                                                                                           Name of Debtor(s):
Voluntary Petition                                                                           Yates, Joshua Ronald
(This page must be completed and filed in every case)
                                                                                    Signatures
                  Signature(s) of Debtor(s) (Individual/Joint)                                               Signature of a Foreign Representative
     I declare under penalty of perjury that the information provided in this               I declare under penalty of perjury that the information provided in this petition
     petition is true and correct.                                                          is true and correct, that I am the foreign representative of a debtor in a foreign
     [If petitioner is an individual whose debts are primarily consumer debts and           proceeding, and that I am authorized to file this petition.
     has chosen to file under chapter 7] I am aware that I may proceed under
                                                                                            (Check only one box.)
     chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief
     available under each such chapter, and choose to proceed under chapter 7.                  I request relief in accordance with chapter 15 of title 11. United States Code.
     [If no attorney represents me and no bankruptcy petition preparer signs the                Certified copies of the documents required by 11 U.S.C. §1515 are attached.
     petition] I have obtained and read the notice required by 11 U.S.C. §342(b).
                                                                                                Pursuant to 11 U.S.C. §1511, I request relief in accordance with the chapter
     I request relief in accordance with the chapter of title 11, United States Code,           of title 11 specified in this petition. A certified copy of the order granting
     specified in this petition.                                                                recognition of the foreign main proceeding is attached.


      /s/ Joshua Ronald Yates                                                              X
 X                                                                                             Signature of Foreign Representative
     Signature of Debtor Joshua Ronald Yates

 X                                                                                             Printed Name of Foreign Representative
     Signature of Joint Debtor
                                                                                               Date
     Telephone Number (If not represented by attorney)                                            Signature of Non-Attorney Bankruptcy Petition Preparer
     December 5, 2012
                                                                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Date                                                                                      preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                               compensation and have provided the debtor with a copy of this document
                              Signature of Attorney*                                           and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                               110(h), and 342(b); and, (3) if rules or guidelines have been promulgated
                                                                                               pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
 X    /s/ Donald M. Brown
                                                                                               chargeable by bankruptcy petition preparers, I have given the debtor notice
     Signature of Attorney for Debtor(s)                                                       of the maximum amount before preparing any document for filing for a
      Donald M. Brown 57652                                                                    debtor or accepting any fee from the debtor, as required in that section.
                                                                                               Official Form 19 is attached.
     Printed Name of Attorney for Debtor(s)
      Douglas, Haun & Heidemann, P.C.
                                                                                               Printed Name and title, if any, of Bankruptcy Petition Preparer
     Firm Name
      111 West Broadway
      P.O. Box 117                                                                             Social-Security number (If the bankrutpcy petition preparer is not
      Bolivar, MO 65613                                                                        an individual, state the Social Security number of the officer,
                                                                                               principal, responsible person or partner of the bankruptcy petition
     Address                                                                                   preparer.)(Required by 11 U.S.C. § 110.)


      (417) 326-5261 Fax: (417) 326-2845
     Telephone Number
     December 5, 2012
                                                                                               Address
     Date
     *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
     certification that the attorney has no knowledge after an inquiry that the            X
     information in the schedules is incorrect.
                                                                                               Date
                Signature of Debtor (Corporation/Partnership)
                                                                                               Signature of bankruptcy petition preparer or officer, principal, responsible
     I declare under penalty of perjury that the information provided in this                  person,or partner whose Social Security number is provided above.
     petition is true and correct, and that I have been authorized to file this petition
     on behalf of the debtor.                                                                  Names and Social-Security numbers of all other individuals who prepared or
                                                                                               assisted in preparing this document unless the bankruptcy petition preparer is
     The debtor requests relief in accordance with the chapter of title 11, United             not an individual:
     States Code, specified in this petition.

 X
     Signature of Authorized Individual
                                                                                               If more than one person prepared this document, attach additional sheets
                                                                                               conforming to the appropriate official form for each person.
     Printed Name of Authorized Individual
                                                                                               A bankruptcy petition preparer’s failure to comply with the provisions of
                                                                                               title 11 and the Federal Rules of Bankruptcy Procedure may result in
     Title of Authorized Individual                                                            fines or imprisonment or both. 11 U.S.C. §110; 18 U.S.C. §156.

     Date
            Case 12-62216-abf7                    Doc 1        Filed 12/11/12 Entered 12/11/12 14:27:24                            Desc Main
                                                               Document     Page 4 of 51

                                                          United States Bankruptcy Court
                                                                 Western District of Missouri
 In re       Joshua Ronald Yates                                                                              Case No.
                                                                              Debtor(s)                       Chapter       7

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.    Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that
      compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
      be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                       0.00
             Prior to the filing of this statement I have received                                        $                       0.00
             Balance Due                                                                                  $                       0.00

2.    The source of the compensation paid to me was:
                  Debtor              Other (specify):

3.    The source of compensation to be paid to me is:
                  Debtor              Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

      a.    Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
      b.    Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
      c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
      d.    [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

6.    By agreement with the debtor(s), the above-disclosed fee does not include the following service:
              Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
              any other adversary proceeding.
                                                                       CERTIFICATION

      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

Dated:       December 5, 2012                                                 /s/ Donald M. Brown
                                                                              Donald M. Brown
                                                                              Douglas, Haun & Heidemann, P.C.
                                                                              111 West Broadway
                                                                              P.O. Box 117
                                                                              Bolivar, MO 65613
                                                                              (417) 326-5261 Fax: (417) 326-2845




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    Case 12-62216-abf7   Doc 1   Filed 12/11/12 Entered 12/11/12 14:27:24   Desc Main
                                 Document     Page 5 of 51


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                         American Honda Finance
                         3625 W Royal Ln Ste 200
                         Irving TX 75063


                         Burrell Behavioral Halth Inc
                         1300 Bradford Parkway
                         Springfield MO 65804


                         Capital 1 Bank
                         Attn: Bankruptcy Dept.
                         Po Box 30285
                         Salt Lake City UT 84130


                         Chela/Sallie Mae
                         Attn: Claims Department
                         Po Box 9500
                         Wilkes-Barre PA 18773


                         Credit Collections Srv.
                         Po Box 9134
                         Needham MA 02494


                         Credit First
                         Po Box 818011
                         Cleveland OH 44181


                         Credit Portfolio Associates
                         Attn: Bankruptcy
                         Po Box 802068
                         Dallas TX 75380


                         Dept Of Education/neln
                         121 S 13th St
                         Lincoln NE 68508


                         Hilco Receivables/Equable Ascent Financi
                         Attn: Bankruptcy
                         1120 Lake Cook Road Suite B
                         Buffalo Grove IL 60089


                         Hsbc Best Buy
                         1405 Foulk Road
                         Wilmington DE 19808
Case 12-62216-abf7   Doc 1   Filed 12/11/12 Entered 12/11/12 14:27:24   Desc Main
                             Document     Page 6 of 51



                     Main Street Acquisiton
                     3950 Johns Creek Ct Ste
                     Suwanee GA 30024


                     Midland Funding LLC
                     8875 Aero Dr Ste 200
                     San Diego CA 92123


                     Missouri Higher Educ
                     633 Spirit Dr
                     Chesterfield MO 63005


                     Nationwide Recovery
                     2304 Tarpley Rd Ste 134
                     Carrollton TX 75006


                     Nelnet Lns
                     Attention: Nelnet Claims
                     Po Box 17460
                     Denver CO 80217


                     Patrick Platter
                     1613 S. Charing
                     Springfield MO 65809


                     Portfolio Rc
                     Attn: Bankruptcy
                     Po Box 41067
                     Norfolk VA 23541


                     Progressive Direct Insurance
                     Two Wells Ave.
                     Newton Center MA 02459


                     Sams Club / GEMB
                     Attention: Bankruptcy Department
                     Po Box 103104
                     Roswell GA 30076


                     Tnb-Visa (TV) / Target
                     C/O Financial & Retail Services
                     Mailstop BV P.O.Box 9475
                     Minneapolis MN 55440
Case 12-62216-abf7   Doc 1   Filed 12/11/12 Entered 12/11/12 14:27:24   Desc Main
                             Document     Page 7 of 51



                     Univ. Of Il. Chicago
                     815 W Van Buren
                     Chicago IL 60607


                     Virtuoso Src
                     3033 S Parker Rd
                     Aurora CO 80014
           Case 12-62216-abf7                     Doc 1        Filed 12/11/12 Entered 12/11/12 14:27:24         Desc Main
                                                               Document     Page 8 of 51



                                                          United States Bankruptcy Court
                                                                 Western District of Missouri
 In re     Joshua Ronald Yates                                                                   Case No.
                                                                                  Debtor(s)      Chapter    7



                                                   VERIFICATION OF MAILING MATRIX
           The above-named Debtor(s) hereby verifies that the attached list of creditors is true and

           correct to the best of my knowledge and includes the name and address of my ex-spouse

           (if any).



Date: December 5, 2012                                                 /s/ Joshua Ronald Yates
                                                                       Joshua Ronald Yates
                                                                       Signature of Debtor




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               Case 12-62216-abf7                      Doc 1       Filed 12/11/12 Entered 12/11/12 14:27:24                   Desc Main
                                                                   Document     Page 9 of 51
B6 Summary (Official Form 6 - Summary) (12/07)


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                                                           United States Bankruptcy Court
                                                                  Western District of Missouri
 In re          Joshua Ronald Yates                                                                        Case No.
                                                                                                    ,
                                                                                   Debtor
                                                                                                           Chapter                       7




                                                               SUMMARY OF SCHEDULES
    Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
    B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
    Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
    also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




             NAME OF SCHEDULE                         ATTACHED           NO. OF        ASSETS                 LIABILITIES                 OTHER
                                                       (YES/NO)          SHEETS

A - Real Property                                         Yes             1                         0.00


B - Personal Property                                     Yes             3                  10,775.00


C - Property Claimed as Exempt                            Yes             1


D - Creditors Holding Secured Claims                      Yes             1                                            9,000.00


E - Creditors Holding Unsecured                           Yes             1                                                0.00
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                           Yes             8                                          162,074.20
    Nonpriority Claims

G - Executory Contracts and                               Yes             1
   Unexpired Leases

H - Codebtors                                             Yes             1


I - Current Income of Individual                          Yes             1                                                                       1,699.62
    Debtor(s)

J - Current Expenditures of Individual                    Yes             1                                                                       2,940.00
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                19


                                                                    Total Assets             10,775.00


                                                                                     Total Liabilities               171,074.20




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                Case 12-62216-abf7                    Doc 1        Filed 12/11/12 Entered 12/11/12 14:27:24                    Desc Main
                                                                  Document      Page 10 of 51
Form 6 - Statistical Summary (12/07)


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                                                           United States Bankruptcy Court
                                                                  Western District of Missouri
 In re           Joshua Ronald Yates                                                                                Case No.
                                                                                                         ,
                                                                                       Debtor
                                                                                                                    Chapter                7


              STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
         If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
         a case under chapter 7, 11 or 13, you must report all information requested below.

                  Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                  report any information here.

         This information is for statistical purposes only under 28 U.S.C. § 159.
         Summarize the following types of liabilities, as reported in the Schedules, and total them.


             Type of Liability                                                                  Amount

             Domestic Support Obligations (from Schedule E)                                                      0.00

             Taxes and Certain Other Debts Owed to Governmental Units
             (from Schedule E)
                                                                                                                 0.00

             Claims for Death or Personal Injury While Debtor Was Intoxicated
             (from Schedule E) (whether disputed or undisputed)
                                                                                                                 0.00

             Student Loan Obligations (from Schedule F)                                              149,380.00

             Domestic Support, Separation Agreement, and Divorce Decree
             Obligations Not Reported on Schedule E
                                                                                                                 0.00

             Obligations to Pension or Profit-Sharing, and Other Similar Obligations
             (from Schedule F)
                                                                                                                 0.00

                                                                            TOTAL                    149,380.00


             State the following:

             Average Income (from Schedule I, Line 16)                                                       1,699.62

             Average Expenses (from Schedule J, Line 18)                                                     2,940.00

             Current Monthly Income (from Form 22A Line 12; OR,
             Form 22B Line 11; OR, Form 22C Line 20 )                                                        1,564.21


             State the following:
             1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                 column
                                                                                                                                         0.00

             2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                 column
                                                                                                                 0.00

             3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                 PRIORITY, IF ANY" column
                                                                                                                                         0.00

             4. Total from Schedule F                                                                                          162,074.20

             5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                      162,074.20




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              Case 12-62216-abf7                      Doc 1        Filed 12/11/12 Entered 12/11/12 14:27:24                     Desc Main
                                                                  Document      Page 11 of 51
B6A (Official Form 6A) (12/07)


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 In re         Joshua Ronald Yates                                                                        Case No.
                                                                                                 ,
                                                                                   Debtor

                                                         SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                 Husband,    Current Value of
                                                                         Nature of Debtor's       Wife,     Debtor's Interest in            Amount of
               Description and Location of Property                      Interest in Property     Joint, or  Property, without             Secured Claim
                                                                                                Community Deducting  any Secured
                                                                                                            Claim or Exemption




                      None




                                                                                                 Sub-Total >                  0.00         (Total of this page)

                                                                                                      Total >                 0.00
  0    continuation sheets attached to the Schedule of Real Property
                                                                                                 (Report also on Summary of Schedules)
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              Case 12-62216-abf7                      Doc 1        Filed 12/11/12 Entered 12/11/12 14:27:24                           Desc Main
                                                                  Document      Page 12 of 51
B6B (Official Form 6B) (12/07)


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 In re         Joshua Ronald Yates                                                                               Case No.
                                                                                                     ,
                                                                                    Debtor

                                                    SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

1.    Cash on hand                                    X

2.    Checking, savings or other financial            X
      accounts, certificates of deposit, or
      shares in banks, savings and loan,
      thrift, building and loan, and
      homestead associations, or credit
      unions, brokerage houses, or
      cooperatives.

3.    Security deposits with public                   X
      utilities, telephone companies,
      landlords, and others.

4.    Household goods and furnishings,                    Two Recliners; Couch; Television; Coffee Table w/                 J                        1,300.00
      including audio, video, and                         2 End Tables; Bookcases; Sewing Machine;
      computer equipment.                                 Entertainment Unit; Game Consoles; Armoire; Bed
                                                          Frame; Nightstands; Wardrobe w/ Mirror; Kitchen
                                                          Table; Kitchenwares; Desktop Compaq Presario
                                                          Computer; Desktop Gateway Computer; Washer &
                                                          Dryer

5.    Books, pictures and other art                       Miscellaneous books and textbooks/manuals                         J                           125.00
      objects, antiques, stamp, coin,
      record, tape, compact disc, and
      other collections or collectibles.

6.    Wearing apparel.                                    Debtors' clothing                                                 -                           200.00

7.    Furs and jewelry.                               X

8.    Firearms and sports, photographic,              X
      and other hobby equipment.

9.    Interests in insurance policies.                    Term Life Insurance - Veteran's Group - No cash                   -                              0.00
      Name insurance company of each                      value
      policy and itemize surrender or
      refund value of each.

10. Annuities. Itemize and name each                  X
    issuer.


                                                                                                                            Sub-Total >            1,625.00
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  2    continuation sheets attached to the Schedule of Personal Property

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              Case 12-62216-abf7                      Doc 1        Filed 12/11/12 Entered 12/11/12 14:27:24                           Desc Main
                                                                  Document      Page 13 of 51
B6B (Official Form 6B) (12/07) - Cont.




 In re         Joshua Ronald Yates                                                                               Case No.
                                                                                                     ,
                                                                                    Debtor

                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                           (Continuation Sheet)

                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

11. Interests in an education IRA as                  X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                X
    other pension or profit sharing
    plans. Give particulars.

13. Stock and interests in incorporated               X
    and unincorporated businesses.
    Itemize.

14. Interests in partnerships or joint                X
    ventures. Itemize.

15. Government and corporate bonds                    X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                              X

17. Alimony, maintenance, support, and                X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owed to debtor X
    including tax refunds. Give particulars.


19. Equitable or future interests, life               X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                      X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated                     Debtor's pro rata interest, if any, in 2012 tax return            -                      Unknown
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.


                                                                                                                            Sub-Total >                  0.00
                                                                                                                (Total of this page)

Sheet 1 of 2          continuation sheets attached
to the Schedule of Personal Property

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              Case 12-62216-abf7                      Doc 1        Filed 12/11/12 Entered 12/11/12 14:27:24                           Desc Main
                                                                  Document      Page 14 of 51
B6B (Official Form 6B) (12/07) - Cont.




 In re         Joshua Ronald Yates                                                                               Case No.
                                                                                                     ,
                                                                                    Debtor

                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                           (Continuation Sheet)

                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

22. Patents, copyrights, and other                        Copyright and all other rights in self-authored book               -                             0.00
    intellectual property. Give                           - Entitled "Radical: An American's Plan for Real
    particulars.                                          Change" - Copyright 2012.

                                                          At this time, book has little or no value. No copies
                                                          have been sold as of the date of Debtor's
                                                          bankruptcy filing.

23. Licenses, franchises, and other                   X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations              X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                    2009 Honda Fit Sport - 4 door hatchback, 4 cylinder                H                       9,000.00
    other vehicles and accessories.                       engine, 30,000 miles. Debtor in good faith believed
                                                          that the vehicle in its current condition would be
                                                          worth approximately $9,000.00.

26. Boats, motors, and accessories.                   X

27. Aircraft and accessories.                         X

28. Office equipment, furnishings, and                X
    supplies.

29. Machinery, fixtures, equipment, and               X
    supplies used in business.

30. Inventory.                                        X

31. Animals.                                              3 house cats - pets                                                -                             0.00

32. Crops - growing or harvested. Give                X
    particulars.

33. Farming equipment and                             X
    implements.

34. Farm supplies, chemicals, and feed.               X

35. Other personal property of any kind                   Circular saw, Router, Belt Sander, Miter Saw, Jig                  J                          150.00
    not already listed. Itemize.                          Saw


                                                                                                                            Sub-Total >            9,150.00
                                                                                                                (Total of this page)
                                                                                                                                 Total >         10,775.00
Sheet 2 of 2          continuation sheets attached
to the Schedule of Personal Property                                                                                        (Report also on Summary of Schedules)
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               Case 12-62216-abf7                      Doc 1        Filed 12/11/12 Entered 12/11/12 14:27:24                                    Desc Main
                                                                   Document      Page 15 of 51
 B6C (Official Form 6C) (4/10)


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  In re         Joshua Ronald Yates                                                                                  Case No.
                                                                                                         ,
                                                                                       Debtor

                                         SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                $146,450. (Amount subject to adjustment on 4/1/13, and every three years thereafter
    11 U.S.C. §522(b)(2)                                                                                     with respect to cases commenced on or after the date of adjustment.)
    11 U.S.C. §522(b)(3)

                                                                               Specify Law Providing                        Value of                 Current Value of
                  Description of Property                                         Each Exemption                            Claimed                  Property Without
                                                                                                                           Exemption               Deducting Exemption
Household Goods and Furnishings
Two Recliners; Couch; Television; Coffee Table                            RSMo § 513.430.1(1)                                      2,600.00                         2,600.00
w/ 2 End Tables; Bookcases; Sewing Machine;
Entertainment Unit; Game Consoles; Armoire;
Bed Frame; Nightstands; Wardrobe w/ Mirror;
Kitchen Table; Kitchenwares; Desktop Compaq
Presario Computer; Desktop Gateway
Computer; Washer & Dryer

Books, Pictures and Other Art Objects; Collectibles
Miscellaneous books and textbooks/manuals           RSMo § 513.430.1(3)                                                              250.00                           250.00

Wearing Apparel
Debtors' clothing                                                         RSMo § 513.430.1(1)                                        200.00                           200.00

Automobiles, Trucks, Trailers, and Other Vehicles
2009 Honda Fit Sport - 4 door hatchback, 4                                RSMo § 513.430.1(5)                                      3,000.00                         9,000.00
cylinder engine, 30,000 miles. Debtor in good
faith believed that the vehicle in its current
condition would be worth approximately
$9,000.00.

Other Personal Property of Any Kind Not Already Listed
Circular saw, Router, Belt Sander, Miter Saw,     RSMo § 513.430.1(3)                                                                300.00                           300.00
Jig Saw




                                                                                                         Total:                    6,350.00                       12,350.00
    0     continuation sheets attached to Schedule of Property Claimed as Exempt
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               Case 12-62216-abf7                      Doc 1        Filed 12/11/12 Entered 12/11/12 14:27:24                                    Desc Main
                                                                   Document      Page 16 of 51
 B6D (Official Form 6D) (12/07)


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  In re         Joshua Ronald Yates                                                                                       Case No.
                                                                                                            ,
                                                                                             Debtor

                                  SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                        C   Husband, Wife, Joint, or Community                        C    U   D     AMOUNT OF
             CREDITOR'S NAME                            O                                                             O    N   I
                                                        D   H        DATE CLAIM WAS INCURRED,                         N    L   S        CLAIM
          AND MAILING ADDRESS                           E                                                             T    I   P       WITHOUT               UNSECURED
           INCLUDING ZIP CODE,                          B   W           NATURE OF LIEN, AND                           I    Q   U                             PORTION, IF
                                                        T   J         DESCRIPTION AND VALUE                           N    U   T
                                                                                                                                      DEDUCTING
          AND ACCOUNT NUMBER                            O                                                             G    I   E       VALUE OF                 ANY
            (See instructions above.)
                                                            C                OF PROPERTY
                                                        R
                                                                          SUBJECT TO LIEN
                                                                                                                      E    D   D     COLLATERAL
                                                                                                                      N    A
                                                                                                                      T    T
Account No. 118308692                                           Opened 6/01/09 Last Active 1/19/12                         E
                                                                                                                           D

American Honda Finance                                          Automobile
3625 W Royal Ln Ste 200
Irving, TX 75063
                                                        X -

                                                                Value $                               9,000.00                             9,000.00                        0.00
Account No.




                                                                Value $
Account No.




                                                                Value $
Account No.




                                                                Value $
                                                                                                                   Subtotal
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_____ continuation sheets attached                                                                                                         9,000.00                        0.00
                                                                                                         (Total of this page)
                                                                                                                     Total                 9,000.00                        0.00
                                                                                           (Report on Summary of Schedules)

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              Case 12-62216-abf7                         Doc 1         Filed 12/11/12 Entered 12/11/12 14:27:24                                       Desc Main
                                                                      Document      Page 17 of 51
B6E (Official Form 6E) (4/10)


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 In re         Joshua Ronald Yates                                                                                                Case No.
                                                                                                                     ,
                                                                                               Debtor

                  SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
          A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
    to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
    account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
    continuation sheet for each type of priority and label each with the type of priority.
          The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
    so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
    Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
          If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
    schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
    liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
    column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
    "Disputed." (You may need to place an "X" in more than one of these three columns.)
          Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
    "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
          Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
    listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
    also on the Statistical Summary of Certain Liabilities and Related Data.
          Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
    priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
    total also on the Statistical Summary of Certain Liabilities and Related Data.

         Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

    TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
         Domestic support obligations
        Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
    of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

         Extensions of credit in an involuntary case
        Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
    trustee or the order for relief. 11 U.S.C. § 507(a)(3).

         Wages, salaries, and commissions
        Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
    representatives up to $11,725* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
    occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

         Contributions to employee benefit plans
       Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
    whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

         Certain farmers and fishermen
         Claims of certain farmers and fishermen, up to $5,775* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

         Deposits by individuals
        Claims of individuals up to $2,600* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
    delivered or provided. 11 U.S.C. § 507(a)(7).

         Taxes and certain other debts owed to governmental units
         Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

         Commitments to maintain the capital of an insured depository institution
       Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
    Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

         Claims for death or personal injury while debtor was intoxicated
       Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
    another substance. 11 U.S.C. § 507(a)(10).




    * Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                            0         continuation sheets attached
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               Case 12-62216-abf7                      Doc 1        Filed 12/11/12 Entered 12/11/12 14:27:24                                        Desc Main
                                                                   Document      Page 18 of 51
 B6F (Official Form 6F) (12/07)


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  In re         Joshua Ronald Yates                                                                                      Case No.
                                                                                                               ,
                                                                                             Debtor


               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


      Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                     C    Husband, Wife, Joint, or Community                                C   U   D
                  CREDITOR'S NAME,                                   O                                                                      O   N   I
                  MAILING ADDRESS                                    D    H                                                                 N   L   S
                INCLUDING ZIP CODE,                                  E                DATE CLAIM WAS INCURRED AND                           T   I   P
                                                                          W
               AND ACCOUNT NUMBER
                                                                     B              CONSIDERATION FOR CLAIM. IF CLAIM                       I   Q   U
                                                                                                                                                        AMOUNT OF CLAIM
                                                                     T    J                                                                 N   U   T
                                                                     O                IS SUBJECT TO SETOFF, SO STATE.                       G   I   E
                 (See instructions above.)                           R
                                                                          C
                                                                                                                                            E   D   D
                                                                                                                                            N   A
Account No. xxxx4344                                                          Unknown, but more than 90 days before filing                  T   T
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                                                                              Account                                                           D

Burrell Behavioral Halth Inc
1300 Bradford Parkway                                                     -
Springfield, MO 65804

                                                                                                                                                                         238.00
Account No. xxxxxxxxxxxx7141                                                  Opened 7/01/04 Last Active 7/09/10
                                                                              Credit Card
Capital 1 Bank
Attn: Bankruptcy Dept.                                                    -
Po Box 30285
Salt Lake City, UT 84130
                                                                                                                                                                       1,293.00
Account No. xxxxxxxxxxxxxxxxxxx0916                                           Opened 9/01/04 Last Active 12/01/11
                                                                              Educational
Chela/Sallie Mae
Attn: Claims Department                                                   -
Po Box 9500
Wilkes-Barre, PA 18773
                                                                                                                                                                     17,782.00
Account No. 40268733                                                          06 Progressive Insurance Company

Credit Collections Srv.
Po Box 9134                                                               -
Needham, MA 02494

                                                                                                                                                                         185.00

                                                                                                                                        Subtotal
 7
_____ continuation sheets attached                                                                                                                                   19,498.00
                                                                                                                              (Total of this page)




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               Case 12-62216-abf7                      Doc 1        Filed 12/11/12 Entered 12/11/12 14:27:24                              Desc Main
                                                                   Document      Page 19 of 51
 B6F (Official Form 6F) (12/07) - Cont.




  In re         Joshua Ronald Yates                                                                                Case No.
                                                                                                               ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                     B                                                            I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. 586220810                                                         Opened 4/21/09 Last Active 1/22/10                      E
                                                                              Charge Account                                          D

Credit First
Po Box 818011                                                             -
Cleveland, OH 44181

                                                                                                                                                            836.00
Account No. xxxxxx8964                                                        Opened 8/01/05 Last Active 5/01/05
                                                                              Time Warner Cab
Credit Portfolio Associates
Attn: Bankruptcy                                                          -
Po Box 802068
Dallas, TX 75380
                                                                                                                                                            159.00
Account No. xxxxxxxxxxx8786                                                   Opened 8/01/11 Last Active 1/16/12
                                                                              Educational
Dept Of Education/neln
121 S 13th St                                                             -
Lincoln, NE 68508

                                                                                                                                                          6,591.00
Account No. xxxxxxxxxxx8686                                                   Opened 8/01/11 Last Active 1/16/12
                                                                              Educational
Dept Of Education/neln
121 S 13th St                                                             -
Lincoln, NE 68508

                                                                                                                                                            501.00
Account No. xxxxxxxxxxx9399                                                   Opened 8/01/10 Last Active 1/16/12
                                                                              Educational
Dept Of Education/neln
121 S 13th St                                                             -
Lincoln, NE 68508

                                                                                                                                                          4,865.00

           1
Sheet no. _____     7
                of _____ sheets attached to Schedule of                                                                         Subtotal
                                                                                                                                                        12,952.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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               Case 12-62216-abf7                      Doc 1        Filed 12/11/12 Entered 12/11/12 14:27:24                              Desc Main
                                                                   Document      Page 20 of 51
 B6F (Official Form 6F) (12/07) - Cont.




  In re         Joshua Ronald Yates                                                                                Case No.
                                                                                                               ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
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                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
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               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xxxxxxxxxxx9299                                                   Opened 8/01/07 Last Active 1/16/12                      E
                                                                              Educational                                             D

Dept Of Education/neln
121 S 13th St                                                             -
Lincoln, NE 68508

                                                                                                                                                          1,686.00
Account No. xxxxxxxxxxx9199                                                   Opened 8/01/06 Last Active 1/16/12
                                                                              Educational
Dept Of Education/neln
121 S 13th St                                                             -
Lincoln, NE 68508

                                                                                                                                                          8,787.00
Account No. xxxxxxxxxxx9099                                                   Opened 8/01/10 Last Active 1/16/12
                                                                              Educational
Dept Of Education/neln
121 S 13th St                                                             -
Lincoln, NE 68508

                                                                                                                                                          8,500.00
Account No. xxxxxxxxxxx8999                                                   Opened 8/01/07 Last Active 1/16/12
                                                                              Educational
Dept Of Education/neln
121 S 13th St                                                             -
Lincoln, NE 68508

                                                                                                                                                          8,500.00
Account No. xxxxxxxxxxx8899                                                   Opened 8/01/06 Last Active 1/16/12
                                                                              Educational
Dept Of Education/neln
121 S 13th St                                                             -
Lincoln, NE 68508

                                                                                                                                                          8,500.00

           2
Sheet no. _____     7
                of _____ sheets attached to Schedule of                                                                         Subtotal
                                                                                                                                                        35,973.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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               Case 12-62216-abf7                      Doc 1        Filed 12/11/12 Entered 12/11/12 14:27:24                              Desc Main
                                                                   Document      Page 21 of 51
 B6F (Official Form 6F) (12/07) - Cont.




  In re         Joshua Ronald Yates                                                                                Case No.
                                                                                                               ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
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                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
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Account No. xxxxxxxxxxx5399                                                   Opened 10/01/09 Last Active 1/16/12                     E
                                                                              Educational                                             D

Dept Of Education/neln
121 S 13th St                                                             -
Lincoln, NE 68508

                                                                                                                                                          8,338.00
Account No. xxxxxxxxxxx5299                                                   Opened 10/01/09 Last Active 1/16/12
                                                                              Educational
Dept Of Education/neln
121 S 13th St                                                             -
Lincoln, NE 68508

                                                                                                                                                          8,500.00
Account No. xxxxxxxxxxx8299                                                   Opened 9/01/08 Last Active 1/16/12
                                                                              Educational
Dept Of Education/neln
121 S 13th St                                                             -
Lincoln, NE 68508

                                                                                                                                                        12,000.00
Account No. xxxxxxxxxxx8199                                                   Opened 9/01/08 Last Active 1/16/12
                                                                              Educational
Dept Of Education/neln
121 S 13th St                                                             -
Lincoln, NE 68508

                                                                                                                                                          8,500.00
Account No. xxxx xxxxxxx1003                                                  Opened 2/01/11 Last Active 8/01/10
                                                                              Factoring Company Account Hsbc Bank
Hilco Receivables/Equable Ascent                                              Nevada N.A.
Financi                                                                   -
Attn: Bankruptcy
1120 Lake Cook Road Suite B
Buffalo Grove, IL 60089                                                                                                                                   2,291.00

           3
Sheet no. _____     7
                of _____ sheets attached to Schedule of                                                                         Subtotal
                                                                                                                                                        39,629.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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               Case 12-62216-abf7                      Doc 1        Filed 12/11/12 Entered 12/11/12 14:27:24                              Desc Main
                                                                   Document      Page 22 of 51
 B6F (Official Form 6F) (12/07) - Cont.




  In re         Joshua Ronald Yates                                                                                Case No.
                                                                                                               ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
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                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
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               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xx xxxxxxxxx8875                                                  Opened 6/01/11 Last Active 12/01/10                     E
                                                                              Factoring Company Account Ge Capital Corp.              D

Hilco Receivables/Equable Ascent
Financi                                                                   -
Attn: Bankruptcy
1120 Lake Cook Road Suite B
Buffalo Grove, IL 60089                                                                                                                                     611.00
Account No. xxxxxxxxxxxx0956                                                  Opened 12/01/07 Last Active 2/15/11
                                                                              Charge Account
Hsbc Best Buy
1405 Foulk Road                                                           -
Wilmington, DE 19808

                                                                                                                                                         Unknown
Account No. xxxx2887                                                          Unknown, but more than 90 days before filing
                                                                              Account
Main Street Acquisiton
3950 Johns Creek Ct Ste                                                   -
Suwanee, GA 30024

                                                                                                                                                          1,534.23
Account No. Unknown                                                           Unknown, but more than 90 days before filing
                                                                              Account
Midland Funding LLC
8875 Aero Dr Ste 200                                                      -                                                               X
San Diego, CA 92123

                                                                                                                                                         Unknown
Account No. xxxxxxxxxxxxx0001                                                 Opened 9/01/96 Last Active 8/01/05
                                                                              Educational
Missouri Higher Educ
633 Spirit Dr                                                             -
Chesterfield, MO 63005

                                                                                                                                                          1,330.00

           4
Sheet no. _____     7
                of _____ sheets attached to Schedule of                                                                         Subtotal
                                                                                                                                                          3,475.23
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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               Case 12-62216-abf7                      Doc 1        Filed 12/11/12 Entered 12/11/12 14:27:24                              Desc Main
                                                                   Document      Page 23 of 51
 B6F (Official Form 6F) (12/07) - Cont.




  In re         Joshua Ronald Yates                                                                                Case No.
                                                                                                               ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
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                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xxx4139                                                           Opened 7/01/11 Last Active 10/01/10                     E
                                                                              Collection Attorney At T Mobility                       D

Nationwide Recovery
2304 Tarpley Rd Ste 134                                                   -
Carrollton, TX 75006

                                                                                                                                                            487.00
Account No. xxxx4499                                                          Opened 12/09/05 Last Active 12/19/11
                                                                              Educational
Nelnet Lns
Attention: Nelnet Claims                                                  -
Po Box 17460
Denver, CO 80217
                                                                                                                                                          5,000.00
Account No. xxxx4399                                                          Opened 12/09/05 Last Active 12/19/11
                                                                              Educational
Nelnet Lns
Attention: Nelnet Claims                                                  -
Po Box 17460
Denver, CO 80217
                                                                                                                                                          5,500.00
Account No. xxxx4299                                                          Opened 9/23/04 Last Active 12/19/11
                                                                              Educational
Nelnet Lns
Attention: Nelnet Claims                                                  -
Po Box 17460
Denver, CO 80217
                                                                                                                                                          5,000.00
Account No. xxxx4199                                                          Opened 9/23/04 Last Active 12/19/11
                                                                              Educational
Nelnet Lns
Attention: Nelnet Claims                                                  -
Po Box 17460
Denver, CO 80217
                                                                                                                                                          5,500.00

           5
Sheet no. _____     7
                of _____ sheets attached to Schedule of                                                                         Subtotal
                                                                                                                                                        21,487.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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               Case 12-62216-abf7                      Doc 1        Filed 12/11/12 Entered 12/11/12 14:27:24                              Desc Main
                                                                   Document      Page 24 of 51
 B6F (Official Form 6F) (12/07) - Cont.




  In re         Joshua Ronald Yates                                                                                Case No.
                                                                                                               ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
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                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xxxx4099                                                          Opened 12/11/03 Last Active 12/19/11                    E
                                                                              Educational                                             D

Nelnet Lns
Attention: Nelnet Claims                                                  -
Po Box 17460
Denver, CO 80217
                                                                                                                                                          5,002.00
Account No. xxxx3999                                                          Opened 12/11/03 Last Active 12/19/11
                                                                              Educational
Nelnet Lns
Attention: Nelnet Claims                                                  -
Po Box 17460
Denver, CO 80217
                                                                                                                                                          5,498.00
Account No. xxxx3899                                                          Opened 3/19/03 Last Active 12/19/11
                                                                              Educational
Nelnet Lns
Attention: Nelnet Claims                                                  -
Po Box 17460
Denver, CO 80217
                                                                                                                                                          5,500.00
Account No. xxxx3799                                                          Opened 3/03/03 Last Active 12/19/11
                                                                              Educational
Nelnet Lns
Attention: Nelnet Claims                                                  -
Po Box 17460
Denver, CO 80217
                                                                                                                                                          5,000.00
Account No. xx xxxxxxxxxxxx5454                                               Opened 7/01/11 Last Active 3/01/10
                                                                              Factoring Company Account Ge Money Bank
Portfolio Rc                                                                  F.S.B.
Attn: Bankruptcy                                                          -
Po Box 41067
Norfolk, VA 23541
                                                                                                                                                          1,092.00

           6
Sheet no. _____     7
                of _____ sheets attached to Schedule of                                                                         Subtotal
                                                                                                                                                        22,092.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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               Case 12-62216-abf7                      Doc 1        Filed 12/11/12 Entered 12/11/12 14:27:24                                     Desc Main
                                                                   Document      Page 25 of 51
 B6F (Official Form 6F) (12/07) - Cont.




  In re         Joshua Ronald Yates                                                                                      Case No.
                                                                                                                ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                             C   U   D
                  CREDITOR'S NAME,                                   O                                                                   O   N   I
                  MAILING ADDRESS                                    D    H                                                              N   L   S
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                 (See instructions above.)                           R                                                                   E   D   D
                                                                                                                                         N   A
                                                                                                                                         T   T
Account No. xxxx8733                                                          Unknown, but more than 90 days before filing                   E
                                                                              Account                                                        D

Progressive Direct Insurance
Two Wells Ave.                                                            -
Newton Center, MA 02459

                                                                                                                                                                   185.97
Account No. xxxxxxxxxxxx5454                                                  Opened 12/15/09 Last Active 3/01/10
                                                                              Charge Account
Sams Club / GEMB
Attention: Bankruptcy Department                                          -
Po Box 103104
Roswell, GA 30076
                                                                                                                                                                Unknown
Account No. xxxxxxxxxxxx1081                                                  Opened 11/01/08 Last Active 11/01/10
                                                                              Credit Card
Tnb-Visa (TV) / Target
C/O Financial & Retail Services                                           -
Mailstop BV P.O.Box 9475
Minneapolis, MN 55440
                                                                                                                                                                 3,208.00
Account No. xxxxxxxxxxxx7600                                                  Opened 9/30/06 Last Active 12/01/11
                                                                              Educational
Univ. Of Il. Chicago
815 W Van Buren                                                           -
Chicago, IL 60607

                                                                                                                                                                 3,000.00
Account No. xxx0656                                                           Unknown, but more than 90 days before filing
                                                                              11 At T Wireless
Virtuoso Src
3033 S Parker Rd                                                          -
Aurora, CO 80014

                                                                                                                                                                   574.00

           7
Sheet no. _____     7
                of _____ sheets attached to Schedule of                                                                                Subtotal
                                                                                                                                                                 6,967.97
Creditors Holding Unsecured Nonpriority Claims                                                                               (Total of this page)
                                                                                                                                         Total
                                                                                                               (Report on Summary of Schedules)              162,074.20


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                  Case 12-62216-abf7                  Doc 1        Filed 12/11/12 Entered 12/11/12 14:27:24                          Desc Main
                                                                  Document      Page 26 of 51
B6G (Official Form 6G) (12/07)


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 In re             Joshua Ronald Yates                                                                         Case No.
                                                                                                     ,
                                                                                   Debtor

                        SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
              Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
              of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
              complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
              state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
              disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                 Check this box if debtor has no executory contracts or unexpired leases.
                                                                                     Description of Contract or Lease and Nature of Debtor's Interest.
                  Name and Mailing Address, Including Zip Code,                           State whether lease is for nonresidential real property.
                      of Other Parties to Lease or Contract                                 State contract number of any government contract.




      0
                continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
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               Case 12-62216-abf7                     Doc 1        Filed 12/11/12 Entered 12/11/12 14:27:24                   Desc Main
                                                                  Document      Page 27 of 51
B6H (Official Form 6H) (12/07)


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 In re          Joshua Ronald Yates                                                                     Case No.
                                                                                              ,
                                                                              Debtor

                                                              SCHEDULE H - CODEBTORS
        Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
    by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
    commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
    Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
    any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
    by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
    state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
    disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
        Check this box if debtor has no codebtors.
                 NAME AND ADDRESS OF CODEBTOR                                    NAME AND ADDRESS OF CREDITOR

                 Patrick Platter                                                 American Honda Finance
                 1613 S. Charing                                                 3625 W Royal Ln Ste 200
                 Springfield, MO 65809                                           Irving, TX 75063




      0
              continuation sheets attached to Schedule of Codebtors
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          Case 12-62216-abf7                Doc 1      Filed 12/11/12 Entered 12/11/12 14:27:24                               Desc Main
                                                      Document      Page 28 of 51

B6I (Official Form 6I) (12/07)
 In re    Joshua Ronald Yates                                                                           Case No.
                                                                         Debtor(s)

                           SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
Debtor's Marital Status:                                                  DEPENDENTS OF DEBTOR AND SPOUSE
                                        RELATIONSHIP(S):                                             AGE(S):
      Married                                Son                                                         11 Months

Employment:                                               DEBTOR                                               SPOUSE
Occupation                                                                                   Grant Writer
Name of Employer                     Student                                                 Great Circle (Boys and Girls Town)
How long employed                                                                            5 Months
Address of Employer                                                                          1212 W. Lombard
                                                                                             Springfield, MO 65806
INCOME: (Estimate of average or projected monthly income at time case filed)                                DEBTOR              SPOUSE
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                          $          0.00      $     1,784.62
2. Estimate monthly overtime                                                                           $          0.00      $         0.00

3. SUBTOTAL                                                                                              $             0.00       $        1,784.62


4. LESS PAYROLL DEDUCTIONS
     a. Payroll taxes and social security                                                                $             0.00       $            85.00
     b. Insurance                                                                                        $             0.00       $             0.00
     c. Union dues                                                                                       $             0.00       $             0.00
     d. Other (Specify):                                                                                 $             0.00       $             0.00
                                                                                                         $             0.00       $             0.00

5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $             0.00       $            85.00

6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $             0.00       $        1,699.62

7. Regular income from operation of business or profession or farm (Attach detailed statement)           $             0.00       $             0.00
8. Income from real property                                                                             $             0.00       $             0.00
9. Interest and dividends                                                                                $             0.00       $             0.00
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that of
      dependents listed above                                                                            $             0.00       $             0.00
11. Social security or government assistance
(Specify):                                                                                               $             0.00       $             0.00
                                                                                                         $             0.00       $             0.00
12. Pension or retirement income                                                                         $             0.00       $             0.00
13. Other monthly income
(Specify):                                                                                               $             0.00       $             0.00
                                                                                                         $             0.00       $             0.00

14. SUBTOTAL OF LINES 7 THROUGH 13                                                                       $             0.00       $             0.00

15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                         $             0.00       $        1,699.62

16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15)                                          $            1,699.62
                                                                                (Report also on Summary of Schedules and, if applicable, on
                                                                                Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
         Case 12-62216-abf7           Doc 1     Filed 12/11/12 Entered 12/11/12 14:27:24                         Desc Main
                                               Document      Page 29 of 51

B6J (Official Form 6J) (12/07)
 In re    Joshua Ronald Yates                                                                 Case No.
                                                                  Debtor(s)

         SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
    Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time
case filed. Prorate any payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly
expenses calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
expenditures labeled "Spouse."
1. Rent or home mortgage payment (include lot rented for mobile home)                                       $                   675.00
 a. Are real estate taxes included?                            Yes                No X
 b. Is property insurance included?                            Yes                No X
2. Utilities:      a. Electricity and heating fuel                                                          $                   170.00
                   b. Water and sewer                                                                       $                     0.00
                   c. Telephone                                                                             $                   150.00
                   d. Other cell phone                                                                      $                   170.00
3. Home maintenance (repairs and upkeep)                                                                    $                     0.00
4. Food                                                                                                     $                   400.00
5. Clothing                                                                                                 $                    50.00
6. Laundry and dry cleaning                                                                                 $                    25.00
7. Medical and dental expenses                                                                              $                   100.00
8. Transportation (not including car payments)                                                              $                   250.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                         $                    50.00
10. Charitable contributions                                                                                $                     0.00
11. Insurance (not deducted from wages or included in home mortgage payments)
                   a. Homeowner's or renter's                                                               $                    60.00
                   b. Life                                                                                  $                    20.00
                   c. Health                                                                                $                   135.00
                   d. Auto                                                                                  $                   160.00
                   e. Other                                                                                 $                     0.00
12. Taxes (not deducted from wages or included in home mortgage payments)
                 (Specify)                                                                                   $                    0.00
13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the
plan)
                   a. Auto                                                                                  $                   380.00
                   b. Other Furniture                                                                       $                    45.00
                   c. Other                                                                                 $                     0.00
14. Alimony, maintenance, and support paid to others                                                        $                     0.00
15. Payments for support of additional dependents not living at your home                                   $                     0.00
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)            $                     0.00
17. Other Hygeine, Diapers, Haircuts for Family                                                             $                    50.00
    Other Food and Vet for Pets                                                                             $                    50.00

18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                    $                 2,940.00
if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year
following the filing of this document:

20. STATEMENT OF MONTHLY NET INCOME
a. Average monthly income from Line 15 of Schedule I                                                        $                 1,699.62
b. Average monthly expenses from Line 18 above                                                              $                 2,940.00
c. Monthly net income (a. minus b.)                                                                         $                -1,240.38
            Case 12-62216-abf7                       Doc 1     Filed 12/11/12 Entered 12/11/12 14:27:24                     Desc Main
                                                              Document      Page 30 of 51
B6 Declaration (Official Form 6 - Declaration). (12/07)
                                                          United States Bankruptcy Court
                                                                 Western District of Missouri
 In re      Joshua Ronald Yates                                                                              Case No.
                                                                                   Debtor(s)                 Chapter    7




                                      DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of         21
            sheets, and that they are true and correct to the best of my knowledge, information, and belief.




 Date December 5, 2012                                                 Signature   /s/ Joshua Ronald Yates
                                                                                   Joshua Ronald Yates
                                                                                   Debtor

    Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                     18 U.S.C. §§ 152 and 3571.




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            Case 12-62216-abf7                    Doc 1        Filed 12/11/12 Entered 12/11/12 14:27:24                              Desc Main
                                                              Document      Page 31 of 51
B7 (Official Form 7) (04/10)



                                                          United States Bankruptcy Court
                                                                 Western District of Missouri
 In re       Joshua Ronald Yates                                                                               Case No.
                                                                                Debtor(s)                      Chapter        7

                                                   STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                              DEFINITIONS

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in business"
for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor's primary employment.

          "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or
equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11
U.S.C. § 101.


               1. Income from employment or operation of business

    None       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
               business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
               year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
               calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
               report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                            SOURCE

               2. Income other than from employment or operation of business

    None       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
               during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                            SOURCE




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            Case 12-62216-abf7                    Doc 1        Filed 12/11/12 Entered 12/11/12 14:27:24                          Desc Main
                                                              Document      Page 32 of 51

                                                                                                                                                             2

              3. Payments to creditors

     None     Complete a. or b., as appropriate, and c.

              a. Individual or joint debtor(s) with primarily consumer debts. List all payments on loans, installment purchases of goods or services,
              and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value
              of all property that constitutes or is affected by such transfer is less than $600. Indicate with an (*) any payments that were made to a
              creditor on account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved
              nonprofit budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by
              either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

    NAME AND ADDRESS                                                     DATES OF                                                      AMOUNT STILL
       OF CREDITOR                                                       PAYMENTS                            AMOUNT PAID                 OWING

     None     b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
              immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
              transfer is less than $5,850*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
              account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
              budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments and other
              transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
              filed.)

                                                                                                                  AMOUNT
                                                                         DATES OF                                  PAID OR
                                                                         PAYMENTS/                               VALUE OF              AMOUNT STILL
    NAME AND ADDRESS OF CREDITOR                                         TRANSFERS                              TRANSFERS                OWING

     None     c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
              creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
              spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

    NAME AND ADDRESS OF CREDITOR AND                                                                                                   AMOUNT STILL
         RELATIONSHIP TO DEBTOR                                          DATE OF PAYMENT                     AMOUNT PAID                 OWING

              4. Suits and administrative proceedings, executions, garnishments and attachments

     None     a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
              this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
              whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

    CAPTION OF SUIT                                                    NATURE OF           COURT OR AGENCY                               STATUS OR
    AND CASE NUMBER                                                    PROCEEDING          AND LOCATION                                  DISPOSITION
    Capital One Bank v. Joshua Yates - Case No.                        Civil Collections   Circuit Court of Greene County, MO -          Dismissed
    1131-CV11316                                                                           Division 25
    Portfolio Recovery Associates, LLC v. Joshua                       Civil Collections   Circuit Court of Jackson County, MO           Not disposed
    Yates - Case No. 1216-CV21298
    Midland Funding, LLC v. Joshua Yates - Case                        Civil Collections   Circuit Court of Greene County, MO -          Not disposed.
    No. 1231-CV13627                                                                       Division 25
    Equable Ascent Financial, LLC v. Joshua Yates - Civil Collections                      Circuit Court of Greene County, MO -          Dismissed
    Case No. 1231-CV02540                                                                  Division 25

     None     b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
              preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
              property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
              filed.)

    NAME AND ADDRESS OF PERSON FOR WHOSE                                                       DESCRIPTION AND VALUE OF
       BENEFIT PROPERTY WAS SEIZED                                     DATE OF SEIZURE                PROPERTY



*   Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

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           Case 12-62216-abf7                     Doc 1        Filed 12/11/12 Entered 12/11/12 14:27:24                         Desc Main
                                                              Document      Page 33 of 51

                                                                                                                                                           3

             5. Repossessions, foreclosures and returns

   None      List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
             returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
             or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
             spouses are separated and a joint petition is not filed.)

                                                                 DATE OF REPOSSESSION,
NAME AND ADDRESS OF                                                FORECLOSURE SALE,         DESCRIPTION AND VALUE OF
 CREDITOR OR SELLER                                               TRANSFER OR RETURN                 PROPERTY

             6. Assignments and receiverships

   None      a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
             this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
             joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                               DATE OF
NAME AND ADDRESS OF ASSIGNEE                                   ASSIGNMENT                    TERMS OF ASSIGNMENT OR SETTLEMENT

   None      b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
             preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
             property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
             filed.)

                                                          NAME AND LOCATION
NAME AND ADDRESS                                               OF COURT                        DATE OF            DESCRIPTION AND VALUE OF
  OF CUSTODIAN                                            CASE TITLE & NUMBER                  ORDER                    PROPERTY

             7. Gifts

   None      List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
             and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
             aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
             either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

  NAME AND ADDRESS OF                                     RELATIONSHIP TO                                            DESCRIPTION AND
PERSON OR ORGANIZATION                                     DEBTOR, IF ANY                    DATE OF GIFT             VALUE OF GIFT

             8. Losses

   None      List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
             since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
             spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                         DESCRIPTION OF CIRCUMSTANCES AND, IF
DESCRIPTION AND VALUE                                                    LOSS WAS COVERED IN WHOLE OR IN PART
    OF PROPERTY                                                             BY INSURANCE, GIVE PARTICULARS                     DATE OF LOSS

             9. Payments related to debt counseling or bankruptcy

   None      List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
             concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
             preceding the commencement of this case.

                                                                         DATE OF PAYMENT,                               AMOUNT OF MONEY
NAME AND ADDRESS                                                       NAME OF PAYOR IF OTHER                       OR DESCRIPTION AND VALUE
    OF PAYEE                                                               THAN DEBTOR                                      OF PROPERTY
Douglas, Haun & Heidemann, P.C.                                                                                    $306.00 - Filing Fee. Pro-Bono
111 West Broadway                                                                                                  attorney fee.
P.O. Box 117
Bolivar, MO 65613



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           Case 12-62216-abf7                     Doc 1        Filed 12/11/12 Entered 12/11/12 14:27:24                           Desc Main
                                                              Document      Page 34 of 51

                                                                                                                                                              4

                                                                          DATE OF PAYMENT,                                AMOUNT OF MONEY
NAME AND ADDRESS                                                       NAME OF PAYOR IF OTHER                         OR DESCRIPTION AND VALUE
    OF PAYEE                                                                 THAN DEBTOR                                    OF PROPERTY
Abacus Credit Counseling                                               12-5-12                                       $35.00
3413 Alginet Drive
Encino, CA 91436

             10. Other transfers

   None      a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
             transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
             filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
             spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF TRANSFEREE,                                                                DESCRIBE PROPERTY TRANSFERRED
    RELATIONSHIP TO DEBTOR                                             DATE                           AND VALUE RECEIVED

   None      b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
             trust or similar device of which the debtor is a beneficiary.

NAME OF TRUST OR OTHER                                                                         AMOUNT OF MONEY OR DESCRIPTION AND
DEVICE                                                                 DATE(S) OF              VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                       TRANSFER(S)             IN PROPERTY

             11. Closed financial accounts

   None      List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
             otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
             financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
             cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
             include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
             unless the spouses are separated and a joint petition is not filed.)

                                                                         TYPE OF ACCOUNT, LAST FOUR
                                                                         DIGITS OF ACCOUNT NUMBER,                    AMOUNT AND DATE OF SALE
NAME AND ADDRESS OF INSTITUTION                                         AND AMOUNT OF FINAL BALANCE                          OR CLOSING

             12. Safe deposit boxes

   None      List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
             immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
             depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
             filed.)

                                                      NAMES AND ADDRESSES
NAME AND ADDRESS OF BANK                              OF THOSE WITH ACCESS                      DESCRIPTION                   DATE OF TRANSFER OR
 OR OTHER DEPOSITORY                                  TO BOX OR DEPOSITORY                      OF CONTENTS                    SURRENDER, IF ANY

             13. Setoffs

   None      List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
             commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
             spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF CREDITOR                                           DATE OF SETOFF                                 AMOUNT OF SETOFF

             14. Property held for another person

   None      List all property owned by another person that the debtor holds or controls.


NAME AND ADDRESS OF OWNER                             DESCRIPTION AND VALUE OF PROPERTY                  LOCATION OF PROPERTY


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           Case 12-62216-abf7                     Doc 1        Filed 12/11/12 Entered 12/11/12 14:27:24                         Desc Main
                                                              Document      Page 35 of 51

                                                                                                                                                           5

             15. Prior address of debtor

   None      If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
             occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
             address of either spouse.

ADDRESS                                                                NAME USED                                     DATES OF OCCUPANCY
307 B NE 7th Street, Oak Grove, MO 64075                               Joshua Ronald Yates                           7/2010 - 7/2012

             16. Spouses and Former Spouses

   None      If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
             Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
             commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
             the community property state.

NAME

             17. Environmental Information.

             For the purpose of this question, the following definitions apply:

             "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
             or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
             statutes or regulations regulating the cleanup of these substances, wastes, or material.

                   "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly
                   owned or operated by the debtor, including, but not limited to, disposal sites.

                   "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
                   pollutant, or contaminant or similar term under an Environmental Law

   None      a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
             or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
             the Environmental Law:

                                                      NAME AND ADDRESS OF                      DATE OF                      ENVIRONMENTAL
SITE NAME AND ADDRESS                                 GOVERNMENTAL UNIT                        NOTICE                       LAW

   None      b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
             Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                      NAME AND ADDRESS OF                      DATE OF                      ENVIRONMENTAL
SITE NAME AND ADDRESS                                 GOVERNMENTAL UNIT                        NOTICE                       LAW

   None      c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
             the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
             docket number.

NAME AND ADDRESS OF
GOVERNMENTAL UNIT                                                      DOCKET NUMBER                                 STATUS OR DISPOSITION




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           Case 12-62216-abf7                     Doc 1        Filed 12/11/12 Entered 12/11/12 14:27:24                           Desc Main
                                                              Document      Page 36 of 51

                                                                                                                                                             6

             18 . Nature, location and name of business

   None      a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
             ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
             partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
             immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
             within six years immediately preceding the commencement of this case.

             If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
             ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
             years immediately preceding the commencement of this case.

             If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
             ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
             years immediately preceding the commencement of this case.

                                LAST FOUR DIGITS OF
                                SOCIAL-SECURITY OR
                                OTHER INDIVIDUAL
                                TAXPAYER-I.D. NO.                                                                                BEGINNING AND
NAME                            (ITIN)/ COMPLETE EIN             ADDRESS                        NATURE OF BUSINESS               ENDING DATES

   None      b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


NAME                                                                   ADDRESS


    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor, or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

             19. Books, records and financial statements

   None      a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
             supervised the keeping of books of account and records of the debtor.

NAME AND ADDRESS                                                                                         DATES SERVICES RENDERED

   None      b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books
             of account and records, or prepared a financial statement of the debtor.

NAME                                            ADDRESS                                                  DATES SERVICES RENDERED

   None      c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
             of the debtor. If any of the books of account and records are not available, explain.

NAME                                                                                  ADDRESS

   None      d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
             issued by the debtor within two years immediately preceding the commencement of this case.

NAME AND ADDRESS                                                                               DATE ISSUED




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           Case 12-62216-abf7                     Doc 1        Filed 12/11/12 Entered 12/11/12 14:27:24                           Desc Main
                                                              Document      Page 37 of 51

                                                                                                                                                              7

             20. Inventories

   None      a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
             and the dollar amount and basis of each inventory.

                                                                                                         DOLLAR AMOUNT OF INVENTORY
DATE OF INVENTORY                               INVENTORY SUPERVISOR                                     (Specify cost, market or other basis)

   None      b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.


                                                                               NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
DATE OF INVENTORY                                                              RECORDS

             21 . Current Partners, Officers, Directors and Shareholders

   None      a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


NAME AND ADDRESS                                                       NATURE OF INTEREST                            PERCENTAGE OF INTEREST

   None      b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
             controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                         NATURE AND PERCENTAGE
NAME AND ADDRESS                                                       TITLE                             OF STOCK OWNERSHIP

             22 . Former partners, officers, directors and shareholders

   None      a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
             commencement of this case.

NAME                                                      ADDRESS                                                  DATE OF WITHDRAWAL

   None      b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
             immediately preceding the commencement of this case.

NAME AND ADDRESS                                                       TITLE                             DATE OF TERMINATION

             23 . Withdrawals from a partnership or distributions by a corporation

   None      If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
             in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
             commencement of this case.

NAME & ADDRESS                                                                                                       AMOUNT OF MONEY
OF RECIPIENT,                                                          DATE AND PURPOSE                              OR DESCRIPTION AND
RELATIONSHIP TO DEBTOR                                                 OF WITHDRAWAL                                 VALUE OF PROPERTY

             24. Tax Consolidation Group.

   None      If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
             group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
             of the case.

NAME OF PARENT CORPORATION                                                                          TAXPAYER IDENTIFICATION NUMBER (EIN)




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           Case 12-62216-abf7                     Doc 1        Filed 12/11/12 Entered 12/11/12 14:27:24                                Desc Main
                                                              Document      Page 38 of 51

                                                                                                                                                                   8

             25. Pension Funds.

   None      If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an
             employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

NAME OF PENSION FUND                                                                                    TAXPAYER IDENTIFICATION NUMBER (EIN)


                             DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


Date December 5, 2012                                                  Signature   /s/ Joshua Ronald Yates
                                                                                   Joshua Ronald Yates
                                                                                   Debtor

                 Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




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           Case 12-62216-abf7                     Doc 1        Filed 12/11/12 Entered 12/11/12 14:27:24                      Desc Main
                                                              Document      Page 39 of 51

B8 (Form 8) (12/08)
                                                          United States Bankruptcy Court
                                                                 Western District of Missouri
 In re      Joshua Ronald Yates                                                                              Case No.
                                                                                   Debtor(s)                 Chapter    7


                              CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

PART A - Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is secured by
     property of the estate. Attach additional pages if necessary.)

Property No. 1

Creditor's Name:                                                                    Describe Property Securing Debt:
American Honda Finance                                                              Automobile

Property will be (check one):
       Surrendered                                                     Retained

If retaining the property, I intend to (check at least one):
         Redeem the property
         Reaffirm the debt
         Other. Explain                              (for example, avoid lien using 11 U.S.C. § 522(f)).

Property is (check one):
       Claimed as Exempt                                                               Not claimed as exempt

PART B - Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease.
Attach additional pages if necessary.)

Property No. 1

Lessor's Name:                                            Describe Leased Property:                      Lease will be Assumed pursuant to 11
-NONE-                                                                                                   U.S.C. § 365(p)(2):
                                                                                                            YES              NO


I declare under penalty of perjury that the above indicates my intention as to any property of my estate securing a debt and/or
personal property subject to an unexpired lease.


Date December 5, 2012                                                  Signature   /s/ Joshua Ronald Yates
                                                                                   Joshua Ronald Yates
                                                                                   Debtor




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           Case 12-62216-abf7                     Doc 1        Filed 12/11/12 Entered 12/11/12 14:27:24             Desc Main
                                                              Document      Page 40 of 51
B 201A (Form 201A) (11/12)



                                                 UNITED STATES BANKRUPTCY COURT
                                                  WESTERN DISTRICT OF MISSOURI
                                      NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                               OF THE BANKRUPTCY CODE
          In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of
bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General
may examine all information you supply in connection with a bankruptcy case.

         You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal advice.

         Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure that
you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any changes in
your address. If you are filing a joint case (a single bankruptcy case for two individuals married to each other), and each spouse lists
the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of each notice mailed
from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court requesting that each spouse
receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies
          With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and
provides assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator. The
clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies. Each debtor in a
joint case must complete the briefing.

          In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

           Chapter 7: Liquidation ($245 filing fee, $46 administrative fee, $15 trustee surcharge: Total Fee $306)
         Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors whose
debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted to
proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in some cases,
the United States trustee (or bankruptcy administrator), the trustee, or creditors have the right to file a motion requesting that the court
dismiss your case under § 707(b) of the Code. It is up to the court to decide whether the case should be dismissed.
         Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take
possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
         The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does, the
purpose for which you filed the bankruptcy petition will be defeated.
         Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property settlement
obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while intoxicated
from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and
malicious injury, the bankruptcy court may determine that the debt is not discharged.

       Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
$46 administrative fee: Total fee $281)
           Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments over


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           Case 12-62216-abf7                     Doc 1        Filed 12/11/12 Entered 12/11/12 14:27:24            Desc Main
                                                              Document      Page 41 of 51
Form B 201A, Notice to Consumer Debtor(s)                                                                                         Page 2

a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy
Code.
         Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them, using
your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.
         After completing the payments under your plan, your debts are generally discharged except for domestic support obligations;
most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.

           Chapter 11: Reorganization ($1,167 filing fee, $46 administrative fee: Total fee $1,213)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

           Chapter 12: Family Farmer or Fisherman ($200 filing fee, $46 administrative fee: Total fee $246)
         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a
family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the United
States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this information is not
filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court. The
documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.




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           Case 12-62216-abf7                     Doc 1        Filed 12/11/12 Entered 12/11/12 14:27:24                         Desc Main
                                                              Document      Page 42 of 51


B 201B (Form 201B) (12/09)
                                                          United States Bankruptcy Court
                                                                 Western District of Missouri
 In re     Joshua Ronald Yates                                                                               Case No.
                                                                                 Debtor(s)                   Chapter        7

                                 CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                     UNDER § 342(b) OF THE BANKRUPTCY CODE
                                                                       Certification of Debtor
           I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy
Code.
Joshua Ronald Yates                                                                X /s/ Joshua Ronald Yates                    December 5, 2012
Printed Name(s) of Debtor(s)                                                         Signature of Debtor                        Date

Case No. (if known)                                                                X
                                                                                       Signature of Joint Debtor (if any)       Date




Instructions: Attach a copy of Form B 201 A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has NOT been made on the
Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor's attorney that the attorney has given the
notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on page 3 of Form B1 also include this certification.
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           Case 12-62216-abf7                      Doc 1       Filed 12/11/12 Entered 12/11/12 14:27:24                             Desc Main
                                                              Document      Page 43 of 51
  B22A (Official Form 22A) (Chapter 7) (12/10)
In re  Joshua Ronald Yates
                         Debtor(s)                                                 According to the information required to be entered on this statement
Case Number:                                                                         (check one box as directed in Part I, III, or VI of this statement):
                    (If known)                                                             The presumption arises.
                                                                                           The presumption does not arise.
                                                                                           The presumption is temporarily inapplicable.


                              CHAPTER 7 STATEMENT OF CURRENT MONTHLY INCOME
                                        AND MEANS-TEST CALCULATION
In addition to Schedules I and J, this statement must be completed by every individual chapter 7 debtor. If none of the exclusions in Part I applies,
joint debtors may complete one statement only. If any of the exclusions in Part I applies, joint debtors should complete separate statements if they
believe this is required by § 707(b)(2)(C).

                                             Part I. MILITARY AND NON-CONSUMER DEBTORS
            Disabled Veterans. If you are a disabled veteran described in the Declaration in this Part IA, (1) check the box at the beginning of the
            Declaration, (2) check the box for "The presumption does not arise" at the top of this statement, and (3) complete the verification in Part
            VIII. Do not complete any of the remaining parts of this statement.
   1A
               Declaration of Disabled Veteran. By checking this box, I declare under penalty of perjury that I am a disabled veteran (as defined in
            38 U.S.C. § 3741(1)) whose indebtedness occurred primarily during a period in which I was on active duty (as defined in 10 U.S.C. §
            101(d)(1)) or while I was performing a homeland defense activity (as defined in 32 U.S.C. §901(1)).
            Non-consumer Debtors. If your debts are not primarily consumer debts, check the box below and complete the verification in Part VIII.
    1B      Do not complete any of the remaining parts of this statement.
                Declaration of non-consumer debts. By checking this box, I declare that my debts are not primarily consumer debts.
            Reservists and National Guard Members; active duty or homeland defense activity. Members of a reserve component of the Armed
            Forces and members of the National Guard who were called to active duty (as defined in 10 U.S.C. § 101(d)(1)) after September 11,
            2001, for a period of at least 90 days, or who have performed homeland defense activity (as defined in 32 U.S.C. § 901(1)) for a period of
            at least 90 days, are excluded from all forms of means testing during the time of active duty or homeland defense activity and for 540
            days thereafter (the "exclusion period"). If you qualify for this temporary exclusion, (1) check the appropriate boxes and complete any
            required information in the Declaration of Reservists and National Guard Members below, (2) check the box for "The presumption is
            temporarily inapplicable" at the top of this statement, and (3) complete the verification in Part VIII. During your exclusion period you
            are not required to complete the balance of this form, but you must complete the form no later than 14 days after the date on
            which your exclusion period ends, unless the time for filing a motion raising the means test presumption expires in your case
            before your exclusion period ends.
               Declaration of Reservists and National Guard Members. By checking this box and making the appropriate entries below, I declare
    1C      that I am eligible for a temporary exclusion from means testing because, as a member of a reserve component of the Armed Forces or the
            National Guard

                                   a.       I was called to active duty after September 11, 2001, for a period of at least 90 days and
                                                    I remain on active duty /or/
                                                    I was released from active duty on       , which is less than 540 days before this bankruptcy case was
                                   filed;

                                                OR

                                   b.     I am performing homeland defense activity for a period of at least 90 days /or/
                                          I performed homeland defense activity for a period of at least 90 days, terminating on        , which is less than
                                        540 days before this bankruptcy case was filed.




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           Case 12-62216-abf7                     Doc 1        Filed 12/11/12 Entered 12/11/12 14:27:24                      Desc Main
                                                              Document      Page 44 of 51
  B22A (Official Form 22A) (Chapter 7) (12/10)                                                                                                          2

                      Part II. CALCULATION OF MONTHLY INCOME FOR § 707(b)(7) EXCLUSION
            Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
            a.   Unmarried. Complete only Column A ("Debtor's Income") for Lines 3-11.
            b.   Married, not filing jointly, with declaration of separate households. By checking this box, debtor declares under penalty of perjury:
               "My spouse and I are legally separated under applicable non-bankruptcy law or my spouse and I are living apart other than for the
     2         purpose of evading the requirements of § 707(b)(2)(A) of the Bankruptcy Code." Complete only column A ("Debtor's Income")
               for Lines 3-11.
            c.      Married, not filing jointly, without the declaration of separate households set out in Line 2.b above. Complete both Column A
                  ("Debtor's Income") and Column B ("Spouse's Income") for Lines 3-11.
            d.      Married, filing jointly. Complete both Column A ("Debtor's Income") and Column B ("Spouse's Income") for Lines 3-11.
            All figures must reflect average monthly income received from all sources, derived during the six          Column A          Column B
            calendar months prior to filing the bankruptcy case, ending on the last day of the month before
            the filing. If the amount of monthly income varied during the six months, you must divide the               Debtor's          Spouse's
            six-month total by six, and enter the result on the appropriate line.                                       Income            Income

     3      Gross wages, salary, tips, bonuses, overtime, commissions.                                         $             0.00 $          1,564.21
            Income from the operation of a business, profession or farm. Subtract Line b from Line a and
            enter the difference in the appropriate column(s) of Line 4. If you operate more than one
            business, profession or farm, enter aggregate numbers and provide details on an attachment. Do
            not enter a number less than zero. Do not include any part of the business expenses entered on
     4      Line b as a deduction in Part V.
                                                                        Debtor                 Spouse
             a.     Gross receipts                               $               0.00 $                 0.00
             b.     Ordinary and necessary business expenses $                   0.00 $                 0.00
             c.     Business income                              Subtract Line b from Line a                 $               0.00 $                0.00
            Rents and other real property income. Subtract Line b from Line a and enter the difference in
            the appropriate column(s) of Line 5. Do not enter a number less than zero. Do not include any
            part of the operating expenses entered on Line b as a deduction in Part V.
     5                                                                Debtor                Spouse
             a.    Gross receipts                              $                0.00 $                0.00
             b.    Ordinary and necessary operating expenses $                  0.00 $                0.00
             c.    Rent and other real property income         Subtract Line b from Line a                 $                 0.00 $                0.00
     6      Interest, dividends, and royalties.                                                                $             0.00 $                0.00
     7      Pension and retirement income.                                                                     $             0.00 $                0.00
            Any amounts paid by another person or entity, on a regular basis, for the household
            expenses of the debtor or the debtor's dependents, including child support paid for that
     8      purpose. Do not include alimony or separate maintenance payments or amounts paid by your
            spouse if Column B is completed. Each regular payment should be reported in only one column;
            if a payment is listed in Column A, do not report that payment in Column B.                        $             0.00 $                0.00
            Unemployment compensation. Enter the amount in the appropriate column(s) of Line 9.
            However, if you contend that unemployment compensation received by you or your spouse was a
            benefit under the Social Security Act, do not list the amount of such compensation in Column A
     9      or B, but instead state the amount in the space below:
             Unemployment compensation claimed to
             be a benefit under the Social Security Act Debtor $            0.00 Spouse $               0.00 $               0.00 $                0.00
            Income from all other sources. Specify source and amount. If necessary, list additional sources
            on a separate page. Do not include alimony or separate maintenance payments paid by your
            spouse if Column B is completed, but include all other payments of alimony or separate
            maintenance. Do not include any benefits received under the Social Security Act or payments
            received as a victim of a war crime, crime against humanity, or as a victim of international or
    10      domestic terrorism.
                                                                       Debtor                   Spouse
             a.                                                  $                      $
             b.                                                  $                      $
            Total and enter on Line 10                                                                         $             0.00 $                0.00
    11      Subtotal of Current Monthly Income for § 707(b)(7). Add Lines 3 thru 10 in Column A, and, if
            Column B is completed, add Lines 3 through 10 in Column B. Enter the total(s).               $                   0.00 $          1,564.21



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           Case 12-62216-abf7                     Doc 1        Filed 12/11/12 Entered 12/11/12 14:27:24                          Desc Main
                                                              Document      Page 45 of 51
  B22A (Official Form 22A) (Chapter 7) (12/10)                                                                                                           3

            Total Current Monthly Income for § 707(b)(7). If Column B has been completed, add Line 11,
    12      Column A to Line 11, Column B, and enter the total. If Column B has not been completed, enter
            the amount from Line 11, Column A.                                                                  $                            1,564.21

                                            Part III. APPLICATION OF § 707(b)(7) EXCLUSION
    13      Annualized Current Monthly Income for § 707(b)(7). Multiply the amount from Line 12 by the number 12 and
            enter the result.                                                                                                      $        18,770.52
            Applicable median family income. Enter the median family income for the applicable state and household size.
    14      (This information is available by family size at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)
             a. Enter debtor's state of residence:                MO     b. Enter debtor's household size:           3             $        58,342.00
            Application of Section 707(b)(7). Check the applicable box and proceed as directed.
    15          The amount on Line 13 is less than or equal to the amount on Line 14. Check the box for "The presumption does not arise" at the
                top of page 1 of this statement, and complete Part VIII; do not complete Parts IV, V, VI or VII.
                The amount on Line 13 is more than the amount on Line 14. Complete the remaining parts of this statement.
                                   Complete Parts IV, V, VI, and VII of this statement only if required. (See Line 15.)

                        Part IV. CALCULATION OF CURRENT MONTHLY INCOME FOR § 707(b)(2)
    16      Enter the amount from Line 12.                                                                                         $
            Marital adjustment. If you checked the box at Line 2.c, enter on Line 17 the total of any income listed in Line 11,
            Column B that was NOT paid on a regular basis for the household expenses of the debtor or the debtor's
            dependents. Specify in the lines below the basis for excluding the Column B income (such as payment of the
            spouse's tax liability or the spouse's support of persons other than the debtor or the debtor's dependents) and the
            amount of income devoted to each purpose. If necessary, list additional adjustments on a separate page. If you did
    17      not check box at Line 2.c, enter zero.
             a.                                                                        $
             b.                                                                        $
             c.                                                                        $
             d.                                                                        $
            Total and enter on Line 17                                                                                             $
    18      Current monthly income for § 707(b)(2). Subtract Line 17 from Line 16 and enter the result.                            $

                                      Part V. CALCULATION OF DEDUCTIONS FROM INCOME
                                Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)
            National Standards: food, clothing and other items. Enter in Line 19A the "Total" amount from IRS National
            Standards for Food, Clothing and Other Items for the applicable number of persons. (This information is available
   19A      at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) The applicable number of persons is the number
            that would currently be allowed as exemptions on your federal income tax return, plus the number of any
            additional dependents whom you support.                                                                              $
            National Standards: health care. Enter in Line a1 below the amount from IRS National Standards for
            Out-of-Pocket Health Care for persons under 65 years of age, and in Line a2 the IRS National Standards for
            Out-of-Pocket Health Care for persons 65 years of age or older. (This information is available at
            www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) Enter in Line b1 the applicable number of persons
            who are under 65 years of age, and enter in Line b2 the applicable number of persons who are 65 years of age or
            older. (The applicable number of persons in each age category is the number in that category that would currently
            be allowed as exemptions on your federal income tax return, plus the number of any additional dependents whom
   19B
            you support.) Multiply Line a1 by Line b1 to obtain a total amount for persons under 65, and enter the result in
            Line c1. Multiply Line a2 by Line b2 to obtain a total amount for persons 65 and older, and enter the result in Line
            c2. Add Lines c1 and c2 to obtain a total health care amount, and enter the result in Line 19B.
                         Persons under 65 years of age                         Persons 65 years of age or older
             a1.     Allowance per person                            a2.      Allowance per person
             b1.     Number of persons                               b2.      Number of persons
             c1.     Subtotal                                        c2.      Subtotal                                           $
            Local Standards: housing and utilities; non-mortgage expenses. Enter the amount of the IRS Housing and
            Utilities Standards; non-mortgage expenses for the applicable county and family size. (This information is
   20A      available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court). The applicable family size consists of
            the number that would currently be allowed as exemptions on your federal income tax return, plus the number of
            any additional dependents whom you support.                                                                            $



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           Case 12-62216-abf7                     Doc 1        Filed 12/11/12 Entered 12/11/12 14:27:24                       Desc Main
                                                              Document      Page 46 of 51
  B22A (Official Form 22A) (Chapter 7) (12/10)                                                                                                            4

            Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the amount of the IRS
            Housing and Utilities Standards; mortgage/rent expense for your county and family size (this information is
            available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court) (the applicable family size consists of
            the number that would currently be allowed as exemptions on your federal income tax return, plus the number of
            any additional dependents whom you support); enter on Line b the total of the Average Monthly Payments for any
   20B      debts secured by your home, as stated in Line 42; subtract Line b from Line a and enter the result in Line 20B. Do
            not enter an amount less than zero.
             a.    IRS Housing and Utilities Standards; mortgage/rental expense $
             b.    Average Monthly Payment for any debts secured by your
                   home, if any, as stated in Line 42                               $
             c.    Net mortgage/rental expense                                      Subtract Line b from Line a.                    $
            Local Standards: housing and utilities; adjustment. If you contend that the process set out in Lines 20A and
            20B does not accurately compute the allowance to which you are entitled under the IRS Housing and Utilities
    21      Standards, enter any additional amount to which you contend you are entitled, and state the basis for your
            contention in the space below:
                                                                                                                                    $
            Local Standards: transportation; vehicle operation/public transportation expense.
            You are entitled to an expense allowance in this category regardless of whether you pay the expenses of operating a
            vehicle and regardless of whether you use public transportation.
            Check the number of vehicles for which you pay the operating expenses or for which the operating expenses are
            included as a contribution to your household expenses in Line 8.
   22A
                  0     1       2 or more.
            If you checked 0, enter on Line 22A the "Public Transportation" amount from IRS Local Standards:
            Transportation. If you checked 1 or 2 or more, enter on Line 22A the "Operating Costs" amount from IRS Local
            Standards: Transportation for the applicable number of vehicles in the applicable Metropolitan Statistical Area or
            Census Region. (These amounts are available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)           $
            Local Standards: transportation; additional public transportation expense. If you pay the operating expenses
            for a vehicle and also use public transportation, and you contend that you are entitled to an additional deduction for
   22B      you public transportation expenses, enter on Line 22B the "Public Transportation" amount from IRS Local
            Standards: Transportation. (This amount is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy
            court.)                                                                                                                $
            Local Standards: transportation ownership/lease expense; Vehicle 1. Check the number of vehicles for which
            you claim an ownership/lease expense. (You may not claim an ownership/lease expense for more than two
            vehicles.)
                  1     2 or more.
            Enter, in Line a below, the "Ownership Costs" for "One Car" from the IRS Local Standards: Transportation
    23      (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the Average
            Monthly Payments for any debts secured by Vehicle 1, as stated in Line 42; subtract Line b from Line a and enter
            the result in Line 23. Do not enter an amount less than zero.
             a.       IRS Transportation Standards, Ownership Costs                $
                      Average Monthly Payment for any debts secured by Vehicle
             b.       1, as stated in Line 42                                      $
             c.       Net ownership/lease expense for Vehicle 1                    Subtract Line b from Line a.                     $
            Local Standards: transportation ownership/lease expense; Vehicle 2. Complete this Line only if you checked
            the "2 or more" Box in Line 23.
            Enter, in Line a below, the "Ownership Costs" for "One Car" from the IRS Local Standards: Transportation
            (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the Average
    24      Monthly Payments for any debts secured by Vehicle 2, as stated in Line 42; subtract Line b from Line a and enter
            the result in Line 24. Do not enter an amount less than zero.
             a.       IRS Transportation Standards, Ownership Costs                $
                      Average Monthly Payment for any debts secured by Vehicle
             b.       2, as stated in Line 42                                      $
             c.       Net ownership/lease expense for Vehicle 2                    Subtract Line b from Line a.                     $
            Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur for all federal,
    25      state and local taxes, other than real estate and sales taxes, such as income taxes, self employment taxes, social
            security taxes, and Medicare taxes. Do not include real estate or sales taxes.                                          $




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              Case 12-62216-abf7                          Doc 1         Filed 12/11/12 Entered 12/11/12 14:27:24                                    Desc Main
                                                                       Document      Page 47 of 51
    B22A (Official Form 22A) (Chapter 7) (12/10)                                                                                                                            5

                Other Necessary Expenses: involuntary deductions for employment. Enter the total average monthly payroll
       26       deductions that are required for your employment, such as retirement contributions, union dues, and uniform costs.
                Do not include discretionary amounts, such as voluntary 401(k) contributions.                                      $
                Other Necessary Expenses: life insurance. Enter total average monthly premiums that you actually pay for term
       27       life insurance for yourself. Do not include premiums for insurance on your dependents, for whole life or for
                any other form of insurance.                                                                                                          $
                Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you are required to
       28       pay pursuant to the order of a court or administrative agency, such as spousal or child support payments. Do not
                include payments on past due obligations included in Line 44.                                                                         $
                Other Necessary Expenses: education for employment or for a physically or mentally challenged child. Enter
       29       the total average monthly amount that you actually expend for education that is a condition of employment and for
                education that is required for a physically or mentally challenged dependent child for whom no public education
                providing similar services is available.                                                                          $

       30       Other Necessary Expenses: childcare. Enter the total average monthly amount that you actually expend on
                childcare - such as baby-sitting, day care, nursery and preschool. Do not include other educational payments.                         $
                Other Necessary Expenses: health care. Enter the total average monthly amount that you actually expend on
       31       health care that is required for the health and welfare of yourself or your dependents, that is not reimbursed by
                insurance or paid by a health savings account, and that is in excess of the amount entered in Line 19B. Do not
                include payments for health insurance or health savings accounts listed in Line 34.                                                   $
                Other Necessary Expenses: telecommunication services. Enter the total average monthly amount that you
       32       actually pay for telecommunication services other than your basic home telephone and cell phone service - such as
                pagers, call waiting, caller id, special long distance, or internet service - to the extent necessary for your health and
                welfare or that of your dependents. Do not include any amount previously deducted.                                                    $
       33       Total Expenses Allowed under IRS Standards. Enter the total of Lines 19 through 32.                                                   $

                                                 Subpart B: Additional Living Expense Deductions
                                        Note: Do not include any expenses that you have listed in Lines 19-32
                Health Insurance, Disability Insurance, and Health Savings Account Expenses. List the monthly expenses in
                the categories set out in lines a-c below that are reasonably necessary for yourself, your spouse, or your
                dependents.
       34
                 a.         Health Insurance                                                $
                 b.         Disability Insurance                                            $
                 c.         Health Savings Account                                          $                                                         $
                Total and enter on Line 34.
                If you do not actually expend this total amount, state your actual total average monthly expenditures in the space
                below:
                $
                Continued contributions to the care of household or family members. Enter the total average actual monthly
       35       expenses that you will continue to pay for the reasonable and necessary care and support of an elderly, chronically
                ill, or disabled member of your household or member of your immediate family who is unable to pay for such
                expenses.                                                                                                                             $
                Protection against family violence. Enter the total average reasonably necessary monthly expenses that you
       36       actually incurred to maintain the safety of your family under the Family Violence Prevention and Services Act or
                other applicable federal law. The nature of these expenses is required to be kept confidential by the court.                          $
                Home energy costs. Enter the total average monthly amount, in excess of the allowance specified by IRS Local
       37       Standards for Housing and Utilities, that you actually expend for home energy costs. You must provide your case
                trustee with documentation of your actual expenses, and you must demonstrate that the additional amount
                claimed is reasonable and necessary.                                                                            $
                Education expenses for dependent children less than 18. Enter the total average monthly expenses that you
                actually incur, not to exceed $147.92* per child, for attendance at a private or public elementary or secondary
       38       school by your dependent children less than 18 years of age. You must provide your case trustee with
                documentation of your actual expenses, and you must explain why the amount claimed is reasonable and
                necessary and not already accounted for in the IRS Standards.                                                                         $
*   Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.


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           Case 12-62216-abf7                     Doc 1        Filed 12/11/12 Entered 12/11/12 14:27:24                       Desc Main
                                                              Document      Page 48 of 51
  B22A (Official Form 22A) (Chapter 7) (12/10)                                                                                                          6

            Additional food and clothing expense. Enter the total average monthly amount by which your food and clothing
            expenses exceed the combined allowances for food and clothing (apparel and services) in the IRS National
    39      Standards, not to exceed 5% of those combined allowances. (This information is available at www.usdoj.gov/ust/
            or from the clerk of the bankruptcy court.) You must demonstrate that the additional amount claimed is
            reasonable and necessary.                                                                                             $

    40      Continued charitable contributions. Enter the amount that you will continue to contribute in the form of cash or
            financial instruments to a charitable organization as defined in 26 U.S.C. § 170(c)(1)-(2).                           $
    41      Total Additional Expense Deductions under § 707(b). Enter the total of Lines 34 through 40                            $

                                                       Subpart C: Deductions for Debt Payment
            Future payments on secured claims. For each of your debts that is secured by an interest in property that you
            own, list the name of the creditor, identify the property securing the debt, and state the Average Monthly Payment,
    42      and check whether the payment includes taxes or insurance. The Average Monthly Payment is the total of all
            amounts scheduled as contractually due to each Secured Creditor in the 60 months following the filing of the
            bankruptcy case, divided by 60. If necessary, list additional entries on a separate page. Enter the total of the
            Average Monthly Payments on Line 42.
                  Name of Creditor                    Property Securing the Debt              Average Monthly Does payment
                                                                                                        Payment include taxes
                                                                                                                  or insurance?
              a.                                                                            $                        yes no
                                                                                                Total: Add Lines                  $
            Other payments on secured claims. If any of debts listed in Line 42 are secured by your primary residence, a
            motor vehicle, or other property necessary for your support or the support of your dependents, you may include in
    43      your deduction 1/60th of any amount (the "cure amount") that you must pay the creditor in addition to the
            payments listed in Line 42, in order to maintain possession of the property. The cure amount would include any
            sums in default that must be paid in order to avoid repossession or foreclosure. List and total any such amounts in
            the following chart. If necessary, list additional entries on a separate page.
                   Name of Creditor                   Property Securing the Debt                    1/60th of the Cure Amount
              a.                                                                              $
                                                                                                              Total: Add Lines    $
            Payments on prepetition priority claims. Enter the total amount, divided by 60, of all priority claims, such as
    44      priority tax, child support and alimony claims, for which you were liable at the time of your bankruptcy filing. Do
            not include current obligations, such as those set out in Line 28.                                                    $
            Chapter 13 administrative expenses. If you are eligible to file a case under Chapter 13, complete the following
            chart, multiply the amount in line a by the amount in line b, and enter the resulting administrative expense.

             a.       Projected average monthly Chapter 13 plan payment.                    $
    45       b.       Current multiplier for your district as determined under schedules
                      issued by the Executive Office for United States Trustees. (This
                      information is available at www.usdoj.gov/ust/ or from the clerk of
                      the bankruptcy court.)                                                x
             c.       Average monthly administrative expense of Chapter 13 case             Total: Multiply Lines a and b         $
    46      Total Deductions for Debt Payment. Enter the total of Lines 42 through 45.                                            $

                                                      Subpart D: Total Deductions from Income
    47      Total of all deductions allowed under § 707(b)(2). Enter the total of Lines 33, 41, and 46.                           $

                                       Part VI. DETERMINATION OF § 707(b)(2) PRESUMPTION
    48      Enter the amount from Line 18 (Current monthly income for § 707(b)(2))                                                $
    49      Enter the amount from Line 47 (Total of all deductions allowed under § 707(b)(2))                                     $
    50      Monthly disposable income under § 707(b)(2). Subtract Line 49 from Line 48 and enter the result.                      $

    51      60-month disposable income under § 707(b)(2). Multiply the amount in Line 50 by the number 60 and enter the
            result.                                                                                                               $




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              Case 12-62216-abf7                          Doc 1          Filed 12/11/12 Entered 12/11/12 14:27:24                                          Desc Main
                                                                        Document      Page 49 of 51
    B22A (Official Form 22A) (Chapter 7) (12/10)                                                                                                                                    7

                Initial presumption determination. Check the applicable box and proceed as directed.
                   The amount on Line 51 is less than $7,025*. Check the box for "The presumption does not arise" at the top of page 1 of this
                statement, and complete the verification in Part VIII. Do not complete the remainder of Part VI.
      52
                   The amount set forth on Line 51 is more than $11,725* Check the box for "The presumption arises" at the top of page 1 of this
                statement, and complete the verification in Part VIII. You may also complete Part VII. Do not complete the remainder of Part VI.
                      The amount on Line 51 is at least $7,025*, but not more than $11,725*. Complete the remainder of Part VI (Lines 53 through 55).
      53        Enter the amount of your total non-priority unsecured debt                                                                                    $
      54        Threshold debt payment amount. Multiply the amount in Line 53 by the number 0.25 and enter the result.                                        $
                Secondary presumption determination. Check the applicable box and proceed as directed.
                    The amount on Line 51 is less than the amount on Line 54. Check the box for "The presumption does not arise" at the top of page 1
      55        of this statement, and complete the verification in Part VIII.
                   The amount on Line 51 is equal to or greater than the amount on Line 54. Check the box for "The presumption arises" at the top
                of page 1 of this statement, and complete the verification in Part VIII. You may also complete Part VII.


                                                           Part VII. ADDITIONAL EXPENSE CLAIMS
      56        Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the health and welfare of
                you and your family and that you contend should be an additional deduction from your current monthly income under §
                707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should reflect your average monthly expense for
                each item. Total the expenses.

                         Expense Description                                                                                                     Monthly Amount
                 a.                                                                                                        $
                 b.                                                                                                        $
                 c.                                                                                                        $
                 d.                                                                                                        $
                                                                          Total: Add Lines a, b, c, and d                  $

                                                                          Part VIII. VERIFICATION
                I declare under penalty of perjury that the information provided in this statement is true and correct. (If this is a joint case, both debtors
                must sign.)
      57                      Date: December 5, 2012                                        Signature: /s/ Joshua Ronald Yates
                                                                                                         Joshua Ronald Yates
                                                                                                                    (Debtor)




*   Amounts are subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.


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           Case 12-62216-abf7                     Doc 1        Filed 12/11/12 Entered 12/11/12 14:27:24   Desc Main
                                                              Document      Page 50 of 51
  B22A (Official Form 22A) (Chapter 7) (12/10)                                                                                   8


                                               Current Monthly Income Details for the Debtor

Debtor Income Details:
Income for the Period 06/01/2012 to 11/30/2012.




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           Case 12-62216-abf7                     Doc 1        Filed 12/11/12 Entered 12/11/12 14:27:24   Desc Main
                                                              Document      Page 51 of 51
  B22A (Official Form 22A) (Chapter 7) (12/10)                                                                                   9

                                       Current Monthly Income Details for the Debtor's Spouse

Spouse Income Details:
Income for the Period 06/01/2012 to 11/30/2012.

Line 3 - Gross wages, salary, tips, bonuses, overtime, commissions
Source of Income: Great Circle
Income by Month:
 6 Months Ago:                              06/2012                        $0.00
 5 Months Ago:                              07/2012                    $1,038.47
 4 Months Ago:                              08/2012                    $2,076.93
 3 Months Ago:                              09/2012                    $1,384.62
 2 Months Ago:                              10/2012                    $1,384.62
 Last Month:                                11/2012                    $1,384.62
                             Average per month:                        $1,211.54




Line 3 - Gross wages, salary, tips, bonuses, overtime, commissions
Source of Income: Junior Acheivement
Income by Month:
 6 Months Ago:                              06/2012                       $0.00
 5 Months Ago:                              07/2012                       $0.00
 4 Months Ago:                              08/2012                       $0.00
 3 Months Ago:                              09/2012                     $305.50
 2 Months Ago:                              10/2012                     $955.50
 Last Month:                                11/2012                     $855.00
                             Average per month:                         $352.67




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